              Case: 4:18-cv-01146-JAR
     U.S. Department of Justice                               PROCESS
                                      Doc. #: 2 Filed: 07/16/18  Page:RECEIPT  AND RETURN
                                                                       1 of 1 PageID #: 15
     United States Marshals Service
     PLAINTIFF                                                                                                                                           COURT CASE NUMBER
     UNITED STATES OF AMERICA                                                                                                                            4:18CV01146 JAR
                                                                                                                                                                                            ~II    F=n
     DEFENDANT                                                                                                                                           TYPE OF PROCESS
    $3,406.00 U.S. Currency and $28,732.00 U.S. Currency                                                                                                 Complaint & WarrantJUL                 16 201 8
                          NAME OF INDIVIDUAL, COMPANY, CORPORATION, ETC. TO SERVE OR DESCRIPTION OF PROPERTY TO SEIZE OR CONDEMN
    SERVE                                                                                                                                                                          U.S. DISTRICT CO URT

        AT •              $28,732.00 U.S. Currency
                          ADDRESS (Street or RFD, Apartment No.,        Ci~v.   State, and ZIP Code)
                                                                                                                                                                                 EASTERN DISTRICT OFMO
                                                                                                                                                                                            QT I r'llllC'
                                                                                                                                                                                                        -


    SEND NOTICE OF SERVICE TO REQUESTER AT NAME AND ADDRESS BELOW:
                                                                                                                                      I   Number of process to be served
                                                                                                                                          with this Form - 285

                     Attn: Danielle Floyd                                                                                                 Number of parties to be served
                     Office of the United States Attorney                                                                                 in this case
                     111 South Tenth Street, 20th Floor
                     St. Louis, Missouri 63102                                                                                            Check for service on U.S.A.
-----------------------------------------------------
    SPECIAL INSTRUCTIONS OR OTHER INFORMATION THAT WILL ASSIST IN EXPEDITING SERVICE (Include Business and Alternate Address, All
    Telephone Numbers, and Estimated Times Available For Service)


                     18-DEA-639703


      Signature of Attorney or other Originator requesting service on behalf of:                                     181 PLAINTIFF         TELEPHONE NUMBER                    DATE
                                                                                                                   D DEFENDANT
      Isl Kyle T. Bateman                                                                                                                  314/539-2200                        July 12, 2018



      SPACE BELOW FOR USE OF U.S. MARSHAL ONLY - DO NOT WRITE BELOW THIS LINE
    I acknowledge receipt for the total       Total Process          District of Origin        District to Serve                                                                     Date


                                                                     No.~
    number of process indicated.
    (Sign only first USM 285 if more than
    one USM 285 is submitted)                 No.                                              No.                                                                                   1-)3--{<(
    I hereby certify and return that I D have personally served, D have legal evidence of service'. Q{have executed as own "Remarks", the process described on the
    individual, C?mpany, corporation, etc. at the address shown above or on the individual, compa;;{. c~oration, etc., shown at the address inserted _below.

    D   I hereby certify and return that I am unable to locate the individual, company, corporation, etc., named above (See remarks helou~.

    Name and title of individual served (/fnol shown abol'e).                                                                                        A person of suitable age and discretion then residing
                                                                                                                                             D       in the defendant's usual place of abode.

    Address (complete only if different than shown ahove)                                                                                   Date of Service                 Time
                                                                                                                                                                            am




    Service Fee            Total Mileage Charges        Forwarding Fee               Total Charges                 Advance Deposits         Amount ·owed to US Marshal or         Amount or Refund


                                                                                          ~~s
                           (including endeavors)

1loS-
    REMARKS:
                                *    USMS custody date of 03/19/2018, deposited into· SADF via OTC Net on 03/19/2018.

                                                                07/13/2018: Complaint & Warrant served on asset.

    PRIOR ED!T!ONS MAY                                                          1. CLERK OF THE COURT                                                             FORM USM 285 (Rev. 12115/80)
    BE USED



D     USMS RECORD          D    NOTICEOFSERV!CE                  D   Blll!NGSTATEMENT                  D   ACKNOWLEDGMENTOFRECEIPT
